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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

                                                   Master Case No.
IN RE GEORGIA SENATE BILL 202
                                                 1:21-MI-55555-JPB

UNITED STATES OF AMERICA,

                Plaintiff,

                 v.

THE STATE OF GEORGIA; et al.,                     Civil Action No.
                                                 1:21-CV-2575-JPB
                Defendants,

THE REPUBLICAN NATIONAL
COMMITTEE; et al.,

                Intervenor-Defendants.


 UNITED STATES’ OPPOSITION TO DEFENDANTS’ MOTION FOR
RECONSIDERATION OR, IN THE ALTERNATIVE, CERTIFICATION
                 FOR IMMEDIATE APPEAL
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      Last summer, the United States of America sued the State of Georgia, the

Georgia State Election Board, and the Georgia Secretary of State (the “State” or

the “State Defendants”), alleging that certain new election provisions in SB 202

(2021) violate Section 2 of the Voting Rights Act, 52 U.S.C. § 10301, because they

were adopted with the purpose of denying or abridging the right to vote on account

of race. See Compl. ¶¶ 159-165 (ECF No. 1). This Court has already denied

motions to dismiss that complaint filed by the State Defendants (ECF No. 38) and

the Intervenors (ECF No. 39). See Order of Dec. 9, 2021 (ECF No. 69) (“Order”).

The State Defendants now ask this Court to reconsider its well-reasoned Order or,

in the alternative, to certify an interlocutory appeal. See Defs.’ Mot. for

Reconsideration (21-MI-55555, ECF No. 11; see also 21-CV-2575, ECF No. 78).

      This Court should deny both requests. First, Defendants present no valid

argument for the Court to reconsider its Order; instead, they merely seek to

relitigate the arguments already considered and rejected by this Court. The essence

of Defendants’ argument is this: the Court got it wrong the first time. But it is

blackletter law that such arguments are not an appropriate basis upon which to

grant reconsideration.

      Second, Defendants have not overcome the Eleventh Circuit’s presumption

against interlocutory appeals. There is no substantial ground for difference of
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opinion on the question whether a state law adopted for the purpose of denying or

abridging the right to vote on account of race violates Section 2 of the Voting

Rights Act whenever it achieves, or threatens to achieve, that purpose. Even more,

certification at this stage would do nothing to significantly narrow or shorten the

scope of this litigation. The United States’ claims are based on many of the same

facts and issues as the claims brought by the other plaintiff parties in this

consolidated litigation—claims which will go forward and be wholly unaffected by

the interlocutory review that Defendants seek here.

I.    DEFENDANTS FAIL TO ESTABLISH THAT RECONSIDERATION
      OF THE COURT’S ORDER IS NECESSARY.

      1. The legal standard governing motion for reconsideration in this Court is

clear, and it is stringent. Under Local Rule 7.2(E), such motions should be filed

only when “absolutely necessary.” LR 7.2(E), N.D. Ga. Such absolute necessity

exists only where there is “(1) newly discovered evidence; (2) an intervening

development or change in controlling law; or (3) a need to correct a clear error of

law or fact.” Bryan v. Murphy, 246 F. Supp. 2d 1256, 1258-59 (N.D. Ga. 2003).

With respect to the third basis for reconsideration—the only one relevant here—

“[a]n error is not ‘clear and obvious’ if the legal issues are ‘at least arguable.’”

United States v. Battle, 272 F. Supp. 2d 1354, 1358 (N.D. Ga. 2003) (quoting Am.



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Home Assurance Co. v. Glenn Estess & Assoc., Inc., 763 F.2d 1237, 1239 (11th

Cir. 1985)).

      Accordingly, “[a] motion for reconsideration should not be used to present

the Court with arguments already heard and dismissed, or to offer new legal

theories or evidence that could have been presented in the previously-filed

motion.” Belmont Holdings Corp. v. SunTrust Banks, Inc., 896 F. Supp. 2d 1210,

1223 (N.D. Ga. 2012); see also Mays v. U.S. Postal Serv., 122 F.3d 43, 46 (11th

Cir. 1997); Adler v. Wallace Comput. Servs., Inc., 202 F.R.D. 666, 675 (N.D. Ga.

2001). Likewise, Local Rule 7.2(E) does not “afford[] a dissatisfied party an

opportunity to relitigate old matters, raise argument or present evidence that could

have been raised prior to the entry of judgment, introduce novel legal theories, or

repackage familiar arguments to test whether the Court will change its mind.”

Chesnut v. Ethan Allen Retail, Inc., 17 F. Supp. 3d 1367, 1370 (N.D. Ga. 2014). A

motion for reconsideration is also not an opportunity to show the court how it

“could have done it better.” Pres. Endangered Areas of Cobb’s Hist., Inc. v. U.S.

Army Corps of Eng’rs, 916 F. Supp. 1557, 1560 (N.D. Ga. 1995) (internal

quotation marks omitted); see also Bryan, 246 F. Supp. 2d at 1259. “If a party

presents a motion for reconsideration under any of these circumstances, the motion

must be denied.” Bryan, 246 F. Supp. 2d at 1259.


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      2. Proper application of that legal standard shows why the Defendants’

motion should be denied. Defendants do not so much as hint that there is any

newly discovered evidence or legal development. Instead, their entire argument is

this: the Court failed to properly apply Johnson v. DeSoto County Board of

Commissioners, 72 F.3d 1556 (11th Cir. 1996), in analyzing their original motion

to dismiss. See Defs.’ Br. Supp. Mot. for Reconsideration, ECF No. 11-1

(hereinafter, “Defs.’ Br.”).

      As their brief abundantly demonstrates, Defendants do nothing more than

relitigate arguments that this Court has already heard, considered, and rejected.

“[I]t is improper on a motion for reconsideration to ask the Court to rethink what it

has already thought through—rightly or wrongly.” Gold Cross EMS, Inc. v.

Children’s Hosp. of Ala., 108 F. Supp. 3d 1376, 1379 (S.D. Ga. 2015), aff’d, 648

F. App’x 976 (11th Cir. 2016) (internal quotation marks and citation omitted).

      The five reasons set forth by Defendants in support of their motion for

reconsideration are simply a repackaging of the arguments already raised in their

motion to dismiss. Defendants’ first, second, and fifth reasons build upon each

other. Defendants argue that (a) DeSoto County applies to all Section 2 claims,

(b) this is demonstrated by the Eleventh Circuit’s decision in Brooks v. Miller, 158

F.3d 1230 (11th Cir. 1998), and (c) to apply DeSoto County in Section 2 vote


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dilution and vote denial cases “makes sense.” See Defs.’ Br. at 4-6, 11-13.

Defendants already raised these exact arguments in support of their motion to

dismiss, see Brief Supp. Defs.’ Mot. to Dismiss, ECF No. 38 at 5-6 (hereinafter,

“Defs.’ Mot. to Dismiss”); Defs.’ Reply Supp. Mot. to Dismiss, ECF No. 66 at 6-8

(hereinafter, “Defs.’ Reply”). The United States has already addressed these

arguments. See U.S. Opp. to Defs.’ Mot. to Dismiss (ECF No. 58). This Court’s

well-reasoned Order did not find the Defendants’ arguments persuasive the first

time. See Order at 14-16. Local Rule 7.2(E) does not permit Defendants to get a

second bite at the apple. See Chesnut, 17 F. Supp. 3d at 1370.1




1
  Brooks, which Defendants cited in their initial motion to dismiss and in their
reply brief, see 21-CV-2575, ECF No. 38, at 6; see also 21-CV-2575, ECF No. 66
at 6-7, does nothing to support their argument that DeSoto County extends beyond
vote-dilution cases. The reason is simple: Brooks was itself a vote-dilution case,
albeit of a less frequent kind. It, like all other vote-dilution cases, focused on
whether, “in the absence of the challenged structure or practice,” the plaintiffs
would “possess the potential to elect representatives.” Thornburg v. Gingles, 478
U.S. 30, 51 n.17 (1986). So the Brooks courts’ decisions to apply a modified
version of the first prong of Gingles was entirely sensible, because that was the
lens through which to ask whether the plaintiffs were “injured by that structure or
practice.” Id.; see Brooks, 158 F.3d at 1239-40. By contrast to the focus on
election outcomes in Gingles, DeSoto County, and Brooks, the focus in a vote-
denial case like this one is, as this Court has already explained, on opportunities to
participate, regardless of election outcomes. Unlike the injury suffered by the
plaintiffs in DeSoto County and Brooks, the injury alleged by the United States in
this case is redressable through the relief sought in the Complaint (e.g., enjoining
the discriminatory provisions of SB 202).

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      Defendants’ third reason—that DeSoto County is not undermined by

Brnovich v. Democratic National Committee, 141 S. Ct. 2321 (2021) (see Defs.’

Br. at 8-11)—has likewise already been argued by Defendants, addressed by the

United States, and rejected by this Court. See Defs.’ Mot. to Dismiss at 8; Defs.’

Reply at 5; U.S. Opp. to Defs.’ Mot. to Dismiss (ECF No. 58); Order at 10-15.

Defendants’ argument that the District Court got it wrong the first time is not a

valid basis upon which to seek reconsideration. See Pres. Endangered, 916 F.

Supp. at 1560.

      Finally, Defendants’ fourth reason—that this Court is bound by the prior

precedent rule to apply valid Circuit jurisprudence unless and until it is expressly

overruled by the Supreme Court or an en banc panel of the Eleventh Circuit,

(Defs.’ Br. at 11-12)—just misses the point. Defendants overlook that this Court

did properly consider DeSoto County in its analysis of the motions to dismiss. It

determined that the vote-dilution claim at issue in DeSoto County was materially

distinguishable from the Department’s purposeful vote-denial claim here. See

Order at 14-15.

      As set forth above, Defendants fail to clear the “high hurdle” required to

warrant reconsideration of this Court’s well-reasoned Order. Chesnut, 17 F. Supp.

3d at 1370. The rightness of the Court’s initial denial of the motion to dismiss was


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more than “at least arguable,” Battle, 272 F. Supp. 2d at 1358; the denial was

straightforwardly correct. The United States, therefore, respectfully requests this

Court deny Defendants’ Motion.

II.   DEFENDANTS FAIL TO DEMONSTRATE THAT
      INTERLOCUTORY APPEAL IS NECESSARY.

      This Court should also deny the Defendants’ request that it undertake the

“extraordinary measure” of certifying an interlocutory appeal under 28 U.S.C.

§ 1292(b), “which is permitted only in exceptional circumstances.” Consumer Fin.

Prot. Bureau v. Frederick J. Hanna & Assocs., P.C., 165 F. Supp. 3d 1330, 1334

(N.D. Ga. 2015) (hereinafter, “CFPB”). “[I]nterlocutory review is not intended

where there exists a ‘mere question as to the correctness of the ruling.’” Gold

Cross EMS, 108 F. Supp. 3d at 1385 (quoting S. Rep. No. 85-2434, reprinted in

1958 U.S.C.C.A.N. 5255, 5260). To obtain an interlocutory appeal under

§ 1292(b), a litigant must: (1) show that the appeal involves a controlling question

of law; (2) establish that a substantial ground for difference of opinion exists; and

(3) demonstrate that an interlocutory appeal will materially advance the ultimate

termination of the litigation. McFarlin v. Conseco Servs., Inc., 381 F.3d 1251,

1257 (11th Cir. 2004). In the Eleventh Circuit, there is a “strong presumption

against interlocutory appeals.” United States v. One Parcel of Real Prop. With



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Bldgs., Appurtenances & Improvements, 767 F.2d 1495, 1498 (11th Cir. 1985). As

set forth below, Defendants fail to overcome this presumption.

      A.     Defendants Do Not Identify A Substantial Ground for Difference
             of Opinion.

      “Parties must clear a high bar when attempting to show that a question

involves a substantial ground for difference of opinion.” CFPB, 165 F. Supp. 3d.

at 1335. A “substantial ground for difference of opinion” as to a question for

which an interlocutory appeal is sought exists “when a legal issue is (1) difficult

and of first impression, (2) the district courts of the controlling circuit are split as

to the issue, or (3) the circuits are split on the issue.” Id. A simple claim that the

District Court’s ruling is incorrect does not constitute a “substantial ground for

difference of opinion.” See id.; see also U.S. ex rel. Powell v. Am.

InterContinental Univ., Inc., 756 F. Supp. 2d 1374, 1378-79 (N.D. Ga. 2010).

      Here, Defendants’ argument relies on the assertion that, “although this Court

did not adopt Defendants’ reading of [DeSoto County], it cannot be denied that

State Defendants’ reading is a strong one. There is, in other words, a ‘substantial

ground for difference of opinion.’” Def. Br. at 14.2 Defendants do not urge




2
 As set forth in our Opposition to Defendants’ Motion to Dismiss, the United
States denies that Defendants’ reading of DeSoto County is persuasive. See U.S.

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certification on the grounds of a split authority between the circuits, or between the

district courts within this Circuit. Nor do the Defendants allege the legal issue is

one of first impression. Instead, Defendants only offer up their disagreement with

this Court’s ruling as a basis to satisfy Section 1292(b)’s requirements.

      This Court’s Order is grounded in well-settled principles regarding Section 2

vote denial litigation. Principally, this Court found that the United States’

complaint met the “key requirement” for stating a VRA Section 2 claim: an

allegation under the “totality of the circumstances.” Order at 10; see also 52

U.S.C. § 10301(b). Moreover, this Court found the allegations in the Complaint

are consistent with the factors enumerated in Village of Arlington Heights v.

Metropolitan Housing Development Corp., 429 U.S. 252, 267-68 (1977), which

the Supreme Court identified in Brnovich to be the “familiar approach” for

evaluating discriminatory intent or purpose claims under the Voting Rights Act.

Order at 9 (quoting Brnovich, 141 S. Ct. at 2348). Finally, this Court’s application

of DeSoto County is entirely consistent with the Eleventh Circuit’s long-held

understanding that the 1982 amendments of the Voting Rights Act merely

eliminated the requirement of proving discriminatory purpose in a Section 2 case.




Opp. to Defs.’ Mot. to Dismiss (ECF No. 58) at 19-22.

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See, e.g., Johnson v. Governor of Fla., 405 F.3d 1214, 1227 (11th Cir. 2005);

United States v. Marengo Cnty. Comm’n, 731 F.2d 1546, 1553 (11th Cir. 1984);

McMillan v. Escambia Cnty., 748 F.2d 1037, 1046 (fmr. 5th Cir. 1984) (“Congress

intended that fulfilling either the more restrictive intent test or the results test

would be sufficient to show a violation of [S]ection 2.”); see also U.S. Opp. to

Defs.’ Mot. to Dismiss (ECF No. 58) at 18. Put simply, Defendants have failed to

establish a “substantial ground” for believing their restrictive reading of Section 2

is correct. There is no reason to certify that question.

       B.     An Interlocutory Appeal Would Not Materially Advance the
              Ultimate Termination of the Litigation.

       Courts in the Eleventh Circuit have in effect combined the questions of

whether the question of law is “controlling” and whether its disposition would

“materially advance the ultimate termination of the litigation” into a single inquiry:

whether the resolution of the legal question has the potential of “substantially

accelerating disposition of the litigation, even if it would not terminate the case.”3

Georgia State Conf. of the NAACP v. Fayette Cty. Bd. of Comm’rs, 952 F. Supp.




3
  The United States does not dispute that this Court’s application of DeSoto County
is a question of law, rather than a question of fact.

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2d 1360, 1362 (N.D. Ga. 2013); see also McFarlin, 381 F.3d at 1259; U.S., ex rel.

Powell, 756 F. Supp. 2d at 1378.4

      Here, there is no rational basis for a finding that an immediate appeal from

the Order could materially advance this litigation. On the contrary, under the

circumstances, a detour to the Eleventh Circuit would more likely delay resolution

of the case. The United States’ claims are based on many of the same facts and

issues as the Section 2 and Fourteenth Amendment claims brought by the other

Plaintiffs in this consolidated litigation, and will implicate many of the same

discovery issues. The Section 2 and Fourteenth Amendment claims brought by the

other Plaintiffs here would be wholly unaffected by the interlocutory review that

Defendants seek here solely as to the United States’ claim. The litigation will not

be significantly narrowed or shortened, and no time or expense will be saved

through certifying an immediate appeal. See CFPB, 165 F. Supp. 3d at 1339-40

(finding litigation would not be shortened where parallel claims involving similar

discovery issues would remain pending).




4
 See also Wright & Miller, Federal Practice & Procedure, 16 Fed. Prac. & Proc.
Juris. § 3930 (3d ed.) (“The requirement that an appeal may materially advance the
ultimate termination of the litigation is closely tied to the requirement that the
order involve a controlling question of law.”).

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       Defendants have failed to meet Section 1292(b)’s high bar for granting the

extraordinary measure of an interlocutory review, and therefore certification for

immediate appeal is not warranted.

III.   CONCLUSION

       For the reasons set forth above, the United States respectfully requests that

this Court deny State Defendants’ Motion for Reconsideration or, in the

Alternative, Certification for Immediate Appeal (ECF No. 11).




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Date: January 20, 2022

                                        Respectfully submitted,

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     CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(D)

      Pursuant to Local Rule 7.1(D), I certify that the foregoing document was

prepared in Times New Roman 14-point font in compliance with Local

Rule 5.1(C).

                                            /s/ Rachel R. Evans
                                            RACHEL R. EVANS
                                            Attorney, Voting Section
                                            Civil Rights Division
                                            U.S. Department of Justice
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                           CERTIFICATE OF SERVICE

      I hereby certify that on January 20, 2022, I electronically filed the foregoing

with the clerk of the court using the CM/ECF system, which will send notification

of this filing to counsel of record.

                                             /s/ Rachel R. Evans
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